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                          EXHIBIT 3
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        Supplemental Expert Report on South Carolina’s
                Voter Identification Law, Act R54
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                              July 26, 2012
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I.      INTRODUCTION

        In this case, Defendant-Intervenors asked me to form an opinion about whether the South

Carolina legislature passed Act R54 (as H.3003), the government-issued photo identification law

that Governor Nikki Haley signed into law in 2011 (hereinafter, the “Voter ID Law,” “ID Law,”

or the “Law”), with a racially discriminatory intent.

        As detailed in my initial report, my review of the Arlington Heights factors1 and other

relevant evidence led me to conclude that the Law was motivated by a discriminatory purpose.

Specifically, the goal of suppressing the African American vote played a substantial role in the

legislature’s introduction of the Voter ID Law’s predecessor legislation in 2009 (the “Voter ID

Bill” or “H. 3418”) immediately following President Obama’s inauguration. That same

discriminatory motivation was present in 2011 when the South Carolina Legislature introduced

— and ultimately passed — the current Voter ID Law.

        Since submitting my initial report to the Plaintiffs on June 19, 2012, additional facts have

become available to me. Specifically, South Carolina has located key pieces of legislative

history — including recordings from the Senate Floor debate on the 2009 Voter ID Bill and from

several Senate subcommittee and committee hearings, which have since been transcribed — that

shed light on the Arlington Heights factors that I have considered. In addition, South Carolina




1
  According to the United States Supreme Court, when evaluating whether a governmental act was
motivated by a discriminatory purpose, one should consider a range of facts and circumstances. See
Village of Arlington Heights v. Metropolitan Housing Corp., 429 U.S. 252, 265-68 (1977). In the
Arlington Heights case, the Court identified four factors as relevant circumstantial evidence of
discriminatory intent: (1) the historical background of the decision; (2) the views expressed by decision-
makers on related issues; (3) the specific sequence of events leading to the decision (including whether
there has been a departure from the usual practices or procedures of the decision-making body); and (4)
the anticipated or foreseen effect of the change on minority citizens. Id. These factors are consistent with
the inquiries a historian makes to draw conclusions about discriminatory purpose, and that I discuss fully
in my initial report.
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has produced hundreds of new documents and counsel for Defendant-Intervenors have taken

several additional depositions in the past weeks.

       Together, this additional evidence provides further support for my ultimate conclusion:

The South Carolina legislature was motivated by an unlawful, racially discriminatory purpose in

passing the Voter ID Law. Below, I highlight some of the most compelling pieces of new

evidence, and explain how these facts advance my conclusions. Then, in Part III, supra, I

provide some minor clarification of my initial report.

II.    KEY PIECES OF NEW EVIDENCE DEMONSTRATING SOUTH CAROLINA’S
       DISCRIMINATORY PURPOSE

       A.      The legislative histories of the Voter ID Law and its predecessor bill were
               characterized by procedural irregularities that suggest the presence of a
               discriminatory purpose.

       New evidence emphasizes some of the procedural irregularities in the passage of the

Voter ID Law noted in my initial report, such as the urgency and importance that the South

Carolina legislature attributed to passing a photo ID Law and the Senate’s reliance upon a rare

form of the Special Order motion. Further discovery has unearthed some additional procedural

irregularities during debate over the Voter ID Bill, including the legislature’s decision to

circulate the H. 3418 conference committee report before the Senate had an opportunity to give

meaningful input and all committee members had the opportunity to provide signatures. I briefly

discuss these irregularities below.

               1.      Passing a Voter ID Law was an Urgent, Top Priority for the South
                       Carolina Legislature

       As I explained in my initial report, a Republican majority pushed forward the Voter ID

Law with an unusual urgency following the 2008 presidential election — a fact that new




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evidence repeatedly reinforces.2 During Senate Floor debates in 2010, for example, Senator

Floyd Nicholson, an African American Democrat from Greenwood, voiced his suspicions about

the bill’s timing and motivation.3 As Senator Nicholson explained, prior to the 2008 presidential

election, lawmakers focused on ways to address voter apathy. After the 2008 presidential

election, however, South Carolina lawmakers suddenly claimed a pressing need to combat voter

fraud — despite a total lack of credible evidence of such fraud presented on the Senate Floor.

Senator Nicholson further stated:

        I know a lot of my constituents back home when I told them what we’re going to
        be debating this week, they were saying with the tough economic times, a lot of
        people out of work, we need to be creating jobs and everything, do you think this
        is an issue that we need to spend a lot of time on right now, especially after the
        2008 election we had the highest turnout of voters to ever occur in the state. Why
        is this coming about at this time?4

        Recent deposition testimony further illustrates this point. Wesley Donehue, a well-

known political consultant who worked for the Senate Republican Caucus when the legislature

considered voter ID legislation, testified that “this issue was pushed greater than any other issue

that we have worked on” in roughly ten years of working with Republican lawmakers in the

State.5 Lt. Governor Glenn McConnell, an influential white Republican from Charleston who

served as President Pro Tempore of the Senate when the Law was enacted, testified that he could

not recall another bill being introduced in the House and sent to the Senate as quickly as the

Voter ID Law.6




2
  See also Burton Initial Report at 36 (June 19, 2012).
3
  SC_00161127-30 (South Carolina Senate Session, Jan. 27, 2010).
4
  SC_00161129- 30 (South Carolina Senate Session, Jan. 27, 2010).
5
  Donehue 6/20/12 Tr. at 34:25 – 35:1; see also id. at 29:4 – 29:19 (explaining that Republican party
activists deemed voter ID their number one issue).
6
  McConnell 7/17/12 Tr. at 238-39.

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               2.      The Legislature Used a Rare Senate Procedure Twice to Advance Voter
                       ID Legislation

        In my initial report, I also discussed the unusual use of a Special Order motion — a

procedure for bringing a contested bill to the floor for prompt consideration — by a majority

vote instead of the supermajority that is typically required.7 In 2010, and again in 2011, the Law

twice failed to achieve supermajority approval to proceed from the full Senate. In both years, the

legislation was ultimately advanced through a rarer, alternative method for achieving a Special

Order motion — obtaining special approval from the Rules Committee and then pushing the law

forward through a majority vote on the Senate floor.

        Senator John Land, a white Democrat from Clarendon, and Senator Larry Martin, a white

Republican from Pickens and chair of the Rules Committee in 2010, engaged in a heated

discussion about this procedural irregularity in 2010.8 Senator Land referred to it as a “little trick

move” and stated the “president pro tempore [Glenn McConnell] even said this is a little used

approach, we don’t normally do this.”9 He added:

        But we had to [use this device] this time because we needed to disenfranchise
        178,000 people as quickly as we can because last November they turned out in
        droves and droves and droves and voted, and we got to stop that.10

Notably, on the Senate floor in 2010, then-Senator McConnell justified this rare procedural move

by the importance of adding the early voting days that were part of the original bills.11 But in

2011, after again twice failing to achieve a Special Order motion by supermajority vote to

advance the voter ID Law, Senate leadership used the same tactic.12



7
  See also Burton Initial Report at 28, 35-36.
8
  SC_00161283-86 (South Carolina Senate Session, Jan. 27, 2010).
9
  Id. at SC_00161284.
10
   Id. at SC_00161284-85.
11
   SC_00160993 (South Carolina Senate Session, Jan. 26, 2010).
12
   See McConnell 7/17/12 Tr. at 288:4-289:2.

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        Deposition testimony further underscores the irregularity of this Special Order procedural

move.13 After thirty years in the General Assembly, Lt. Governor McConnell could not name

another instance when the legislature pushed a Special Order motion through the Rules

Committee after failing to achieve supermajority approval on the Senate Floor.14 Senator John

“Jake” Knotts, a white Republican from Lexington and the current chair of the Rules Committee,

claimed that “some chairmen” use this device “a lot,” without providing any concrete instances

of that being so.15 Senator Knotts also acknowledged that he had not relied upon this procedural

tactic since chairing the Rules Committee.16

                3.      The House Circulated the Voter ID Bill’s Conference Report without
                        Full Approval

        New evidence shows that House members of the Voter ID Bill conference committee

circulated a final conference committee report before the Senate had any meaningful opportunity

for input.17 The House excluded some committee members from the deliberative process, such

as Senator Gerald Malloy, an African American Democrat from Darlington. According to

Senator Malloy, “The Senate really never spoke…on this bill” because “the House signed the

conference report before the next meeting started,” referring to the afternoon meeting where

Senate members of the committee were scheduled to voice their concerns about the Voter ID

Bill.18 As a result, Malloy refused to sign the committee report. This unusual occurrence jarred

many members of the Senate; when Senator George “Chip” Campsen, a white Republican from
13
   Id. at 363:11-12.
14
   Id. at 245:17 – 247:11.
15
   Knotts 7/17/12 Tr. at 43:22 – 44:10.
16
   Id.
17
   As explained on page 24 of my initial report, House representatives to the 2010 conference committee
on H. 3418 included Alan Clemmons and Harry Cato, both white Republicans, and Harold Mitchell, an
African American Democrat. Senate conference members were Chip Campsen, a white Republican,
Gerald Malloy, an African American Democrat, and Phillip Shoopman, a white Republican.
(Representative Clemmons and Senator Campsen were also members of the conference committee that
considered H. 3003 one year later.)
18
   SC_00161881-84 (South Carolina Senate Session, June 15, 2010).

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Charleston, reported that Malloy had not signed the report, the President Pro Tempore (then-

Senator McConnell) had to call the Senate to order twice, apparently due to chaos in the

chamber.19

       Moreover, Representative Harold Mitchell, an African American Democrat from

Spartanburg, did not sign the conference committee report either. Thus, the conference report

was finalized with just two signatories from the Senate and two from the House — and meaning

that the only signatories were the white Republicans on the committee, and that neither of the

African American Democrats signed the report.20 Subsequently, on the Senate floor, Senator

Malloy explained, “I realize [that two signatories from each chamber is all] that is required; but

again, I submit that it was there only for political purposes to assist one of the members from the

conference committee….The way that this one was done is not right. It’s just not right.”21

Senator Land added, “I’ve been [in the Senate] a long time. I can’t remember – I can’t

remember another time where a conference committee report came back with one signature

missing.”22

               4.      Certain Senators Cast Rare Votes for Cloture to End Debate in 2011

       There is additional evidence of the extreme party pressure to pass the Voter ID Law. In

February 2011, certain members of the Senate voted for cloture to end a Senate filibuster and

push forward the legislation, even though the Senate typically refuses to vote for cloture as a

matter of principle.23 In general, the use of cloture in the South Carolina Senate is rare.24 In the



19
   Id. at SC_00161821.
20
   Id. at SC_00161897-98.
21
   Id. at SC_00161898.
22
   Id. at SC_00162101.
23
   See Legislative History for H. 3003, 119th Reg. Sess. (S.C. 2011-2012), available at
http://www.scstatehouse.gov/sess119_2011-2012/sj11/20110216.htm; McConnell 6/14/12 Tr. at 106-07.
24
   Cleary 6/14/12 Tr. at 186; Burton Initial Report at 21.

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words of Lt. Governor McConnell, “my experience [in the Senate] is that people don't vote

cloture on you and you don’t vote it on them.”25

        B.      The Legislature repeatedly rejected a provision to expand early voting, an
                amendment that would have ameliorated the Law’s disparate impact.

        As I discussed in my initial report, lawmakers repeatedly and systemically rejected

proposed amendments, including provisions allowing for early voting, that would have

ameliorated the Law’s disparate burden on minorities.26 The decision to pass the Voter ID Law

without early voting provisions is particularly significant. Early voting enjoyed widespread

support from voters, local election officials, many lawmakers, and the State Election

Commission (“SEC”), and the record shows no legitimate, nondiscriminatory reason behind the

House Republican’s strong opposition to this reform.

        Before the start of the 2009-2010 legislative session, there was strong interest in passing

early voting legislation in both the Senate and the House.27 Moreover, Senate hearing testimony

and floor debate underscored significant support for early voting as a way to boost turnout.28 For

instance, before the Senate Judiciary Sub-Committee in 2009, Director of the Charleston County

Election Commission, Joseph Debney, testified that the phone lines in his office were flooded by

calls from voters during the 2008 presidential election — both Democrats and Republicans —

who supported early voting.29 At another 2009 Senate committee hearing, Marilyn Bowers,

speaking on behalf of the South Carolina Association of Registration and Election Officials (and

25
   McConnell 6/14/12 Tr. at 107.
26
   See also Burton Initial Report at 37.
27
   See Andino 7/17/12 Tr. at 286 (recalling several General Assembly members calling to express interest
in early voting after 2008 election).
28
   See, e.g., SC_00160855-68 (South Carolina Senate Judiciary Subcommittee, April 16, 2009);
SC_00160995-96, SC00161002 (South Carolina Senate Session, Jan. 26, 2010); SC_00161823 (South
Carolina Senate Session, June 15, 2010); SC_00162479-81 (South Carolina Senate Session, June 16,
2010).
29
   S&CTR_000017 (Debney’s testimony to Senate Judiciary Sub-Committee on March 26, 2009); see
also Debney 7/16/12 Tr. at 110-11.

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now of SEC), described the many benefits of early voting, including shorter lines at the polls,

greater flexibility for voters and decreased administrative costs, and voiced election officials’

support for that reform.30 Indeed, in 2010, Senator Campsen, a proponent of voter ID legislation,

argued on the Senate floor that early voting and voter ID are connected, because early voting

would increase voter participation while voter ID would make elections more secure.31

        That support persisted in the Senate into the next legislative session. As Senator John

Scott, an African American Democrat from Richmond, explained on the Senate floor in February

2011 (just before the Senate passed an amended Voting ID Law with early voting provisions),

early voting is necessary “to expand this process so that those who live long distances, who want

to participate in this process . . . can vote early. I think that’s a good thing for this bill.”32

Senator McConnell argued that early voting allows “the average South Carolinian that works an

opportunity to go in on a Saturday . . . and vote without having to take time off from their job, or

stand in a line.”33

        Nevertheless, the Republican majority in the Senate ultimately yielded to political

pressures and passed the so-called “clean” version of the Voter ID Law in 2011 — without

expanding early voting.34 Notably, a majority of the Senate passed the Law even though several

key Senators, including then-Senator McConnell and Senator Campsen, expressed concern that

the Department of Justice would not pre-clear the Law without an early voting provision.35




30
   See Bowers 7/19/12 Tr. at 40-42.
31
   SC_00161125-26 (South Carolina Senate Session Jan. 27, 2010).
32
   Tr. of Senate Floor Debate, Feb. 24, 2011, at 103.
33
   Id. at 131.
34
   Tr. of Senate Floor Debate, May 6, 2011, at 127, 143-44 (McConnell discussing intense “media
campaign” directed toward Senate Republicans to vote for the “clean” voter ID bill).
35
   See, e.g., Campsen 6/18/12 Tr. 137:12 – 137:25; McConnell 6/14/12 Tr. at 192:9 – 192:11; 204:10 –
204:15.

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        In fact, Republican Party pressure to pass “clean” voter ID legislation was so strong it

strained relationships between lawmakers. During the conference committee debate in 2011,

Representative Alan Clemmons, a white Republican from Horry County who was the Law’s lead

sponsor, assured then-Senator McConnell that the House would handle early voting under a

separate bill.36 From that exchange, McConnell assumed that the House would send an early

voting bill to the Senate soon thereafter, but the House never did.37 At his deposition,

McConnell could not recall another time in his legislative career when the House promised to

send a bill to the Senate but failed to do so.38 According to McConnell, “the House had set up a

political front that it wanted a clean voter ID bill. And internally, what [was] going on over

there, I can’t be sure.”39

        New evidence, however, underscores a widespread perception, particularly salient among

House Republicans, that early voting facilitates the African American vote and, thus, helps the

Democratic Party — suggesting that Republican lawmakers actually objected to early voting

because they did not want to promote early voting by minority voters. Patricia Calkins, who has

extensive experience working at the polls in York County, testified that African American

churches used busses to transport voters to the polls to cast in-person, absentee votes in 2008.40

According to Wesley Donehue, this trend concerned members of the State’s Republican Party,

who worried that expanding early voting would “allow Democrats to do some things that




36
   McConnell 7/17/12 Dep. Tr. at 260.
37
   Id.
38
   Id.
39
   Id. at 262-63.
40
   Calkins 7/16/12 Tr. at 57-60 (discussing specific incidents in 2008 where Democratic Party worked
with African American churches to bus voters to polls to vote early).

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Democrats often get accused of doing and it would help them.”41 Asked to define “some things,”

Donehue explained:

         I mean there are often movements within African American churches to — for
         absentee voting drives and to bus African Americans to the polls. And a lot of
         people believe that early voting would give the African American community a
         chance to do those things. And I believe that because it’s in writing. I mean,
         that’s just not a hidden belief here. That’s a very public belief here.42

         Older deposition testimony further confirms this “very public belief” among white

Republican lawmakers. For instance:

        Senator Raymond Cleary identified specific counties where, in 2008, “there were buses
         provided by the minority community for absentee ballots, for early voting absentee
         ballots.”43

        Representative Clemmons acknowledged “[t]he perception is that the Democrats do
         bussing a lot more so than do Republicans.”44

        Representative Phillip Lowe recalled a discussion he had with one African American
         individual on this topic: “He told me they would go into a certain area over there,
         meaning a project-type area, and that he was assisting them in picking people up and
         bringing them over to vote. So he was an African American. He was going to African
         American areas; but he was going to the projects, which would have included some white
         people, too, I’m sure.”45

         Lowe also testified that “I just witnessed and was told by activists that they were driving
         to certain areas and picking up people and bringing them to the polls to vote. After they
         voted, if they had the sticker on that said, I voted, that they could — that was their
         entrance into the tent where liquor and beer and chicken bog and all was available to
         them.”46




41
   Donehue 6/20/12 Tr. at 115. As discussed in my initial report and re-affirmed by McConnell’s recent
deposition testimony, “most people [in the] Senate, both Democrat and Republican, know that the
majority of minority voters vote Democrat.” McConnell 7/17/12 Tr. at 284.
42
   Donehue 6/20/12 Tr. at 115-16.
43
   Cleary 6/14/12 Tr. at 207.
44
   Clemmons 6/11/12 Tr. at 206:11-14; see also Burton Initial Report at 25 (describing email exchange
during which Clemmons responds, in part, “[w]e thought that we saw a great deal of bussed liberals and
fraudulent early votes in the 2008 election, but with these kinds of early voting provisions it has the
potential to be even worse!”).
45
   Lowe 6/13/12 Tr. at 126:21-127:3.
46
   Id. at 27:2-8.

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       C.      Key decision-makers were made aware of the disparate impact the Voter ID
               Law would have on African American voters, but made no effort to address
               this issue; instead, they showed an utter disregard for minority viewpoint
               and impact.

       Lawmakers’ awareness of the anticipated or reasonably foreseen disparate impact of

voter ID measures on minority citizens is a key factor in determining discriminatory intent

consistent with Arlington Heights. In my initial report, I cited a recent study on South Carolina’s

so-called “Corridor of Shame,” and appended my expert report in a 2003 Charleston County

Council case where I detailed the persisting socioeconomic disparities between white and

African American South Carolinians. These materials support my opinion that, because of these

well-documented socioeconomic disparities, the burdens of voter ID legislation would inevitably

have a disproportionate impact on the minority electorate.47 Since submitting my initial report, I

have received and read other expert witness reports in this litigation, specifically those of Drs.

Andrew Martin, Theodore Arrington, and Charles Stewart III. All three discuss the disparities in

socioeconomic data for black and white South Carolinians, and Dr. Arrington touches on the

social science literature concerning the relationship between socioeconomic indicators and

political involvement.

       As discussed in my initial report, the evidence overwhelmingly shows that lawmakers

foresaw, or reasonably should have foreseen, the disparate and discriminatory effects of the

Voter ID Law. Therefore, they knew, or should have known, that they were making voting more

difficult for African American citizens. For example, the evidence demonstrates that the

legislators’ debate on voter ID overlapped with their debates on redistricting. This is meaningful

because legislators had before them documentation concerning the socioeconomic and political

47
  TOBY MOORE & SARA LAWRENCE, CREATING GREATER OPPORTUNITY IN SOUTH CAROLINA’S I-95
CORRIDOR: A HUMAN NEEDS ASSESSMENT 39 n. 170 (2009); see also Burton Initial Report at App’x B
(Report of Dr. Orville Vernon Burton for Moultrie v. Charleston County Council, No. 9-01 562 11,
October 5, 2001).

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characteristics of various jurisdictions, state voter registration and turnout data disaggregated,

and census data. Furthermore, opponents of the Law repeatedly emphasized these

socioeconomic disparities during legislative debate and hearings.48

       The record provides additional evidence that lawmakers were acutely aware of the

disparate racial impact of voter ID laws generally, and of South Carolina’s proposed law

particularly. For instance, on the Senate floor in 2010, several opposing lawmakers gave

impassioned speeches about the State’s long history of discrimination against minority voters

and their fear that photo ID was the most recent example of such discrimination. Specifically,

Senator Robert Ford, an African American Democrat from Charleston and a leader in the 1960s

civil rights movement, spoke about racial disfranchisement in the South until the passage of the

Voting Rights Act in 1965 and the State’s general history of discrimination.49 He expressed

concern that the Voter ID Bill would turn back the clock on African American voters.50 Senator

Ralph Anderson, an African American Democrat from Greenville, warned, “[t]he legislation has

potential of suppressing the African American votes, along with other minorities and the aged

people within our community . . . [The] legislation helps to legalize intimidation of our

people.”51

       Senator Michael Rose, a white Republican from Dorchester, and Senator Land discussed

at length the data evidencing a disparate impact on minority voters.52 Land argued that the Law

would impact a higher proportion of the African American community, thereby constituting “a

greater disenfranchisement of the African American vote than the white vote.” Rose retorted

that, because the white population is larger than the African American population, a larger

48
   See, e.g., Burton Initial Report at 29, 32, 40.
49
   SC_00160985-89 (South Carolina Senate Session, Jan. 26, 2010).
50
   Id.
51
   SC_00161251 (South Carolina Senate Session, Jan. 27, 2010).
52
   Id. at SC_00161415-17.

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number of white individuals would be affected.53 As their debate continued, Land asked, “So

you’re conceding the fact that there is going to be an impact on them [referring to African

American voters] and it’s going to be a disenfranchisement of their vote, and a watering down of

their vote or taking their vote away or causing them to do more to vote than the other folks,

right?”54 Rose responded, “Right,” thereby ending that portion of the debate.55

       The next day, Senator Joel Lourie, a white Democrat from Richland, presented the data

on the disproportionate impact the Law would have on minority voters on the Senate floor:

       And then I’ve heard today and other days that this is not targeted at minority
       voters, but yet the statistics will tell you that’s exactly where it’s targeted when 25
       percent of the registered voters in this state, the election committee list them as
       non-white. That’s how they say, white, non-white. Twenty-five percent of the
       registered voters are non-white. But yet close to 31 percent of the 178,000 are
       listed as non-white. There you can see how it disproportionately affects minority
       voters.56

Following Senator Lourie’s reference to this data, the President Pro Tempore ordered that the

data on ID ownership that was compiled by Senate staff and the SEC be distributed to all

Senators.57 Even the Law’s main supporters, such as Senator Campsen, acknowledge that

information about the Law’s disparate impact was well known.58




53
   Id.
54
   Id. at SC_00161417.
55
   Id.
56
   SC_00160172 (South Carolina Senate Session, Jan. 28, 2010).
57
   See id. at SC_00160184-86.
58
   See Campsen 6/18/12 Tr. at 97, 100 (recalling floor discussion on percentage of non-white persons
lacking ID) & 178-180 (recalling concerns from African-American lawmakers and statements that Law
would supress minority voting). In addition, during floor debate, Campsen admitted to reviewing county-
by-county data of persons lacking identification. SC_00161168-70 (South Carolina Senate Session, Jan.
27, 2010).

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       D.      No bill sponsors, election administrators or members of the testifying public
               could identify any verified instances of voter fraud that would be addressed
               by the Voter ID law, strongly suggesting that the stated reason for the Law is
               a pretext.

       There continues to be no evidence of actual impersonation fraud or any reasonable

perceptions of widespread impersonation fraud, strongly suggesting that the stated reason for the

Law is a pretext.

       Indeed, Senate debate on the Voter ID Bill contains some vague allegations of

impersonation fraud, but no credible accounts. For instance, one Senator described an election

day when he traveled from precinct to precinct and witnessed one van traveling to various

polling places, full of voters. He suspected fraud, but admitted that no charges were brought.59

Of course, as another Senator explained, while there are vans that transport groups of people to

different polling places, this provides no proof that the same people vote at multiple precincts.60

       Similarly, during the April 16, 2009 Senate judiciary subcommittee hearing, Mr. Rusty

DePass, former State Election Commission Chairman and a well-known Republican political

figure who made national news after joking that an escaped gorilla was one of Michelle Obama’s

ancestors,61 was one of the very few who testified in favor of photo ID. Mr. DePass claimed to

know of “at least six or eight very, very old people who were still on the books who were still

voting [but] were found not to exist.” When pressed, however, he could not give any details of

these alleged incidents, nor is there any evidence on the record to support Mr. DePass’ claims.62

Notably, at that same hearing, Kent Lesesne, an African American staff member from the South

Carolina Association of Counties, opposed the Voter ID Bill because, “again, as you’ve heard

59
   SC_00160151-53, 55 (South Carolina Senate Session, Jan. 28, 2010).
60
   SC_00160203-4 (South Carolina Senate Session, Jan. 28, 2010).
61
   Helen Kennedy, GOP Activist DePass Apologizes After Joking on Facebook that Gorilla is Related to
Michelle Obama, N.Y. DAILY NEWS, June 14, 2009, http://articles.nydailynews.com/2009-06-
14/news/17925944_1_gop-activist-south-carolina-republicans-facebook.
62
   SC_00160848-50 (South Carolina Senate Judiciary Subcommittee, April 16, 2009).

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from a number of the testimony, [local election officials who] actually are doing this simply

don’t see the necessity for this and; in fact, any good that might come out of [the Bill] we believe

would be overset by the detriment in disenfranchising voters.”63

        And indeed, during the 2010 Senate floor debates, Senator Nicholson credibly recounted

his wife’s experience working for the SEC for four years. He explained that “there was never a

complaint [of] voter fraud,” instead, there were problems with attempts to suppress the voting of

low-income and minority residents.64 Senator Matthews commented, “I can just tell you in the

testimony before the subcommittee, our own election commission said they have no record in

recent history of anybody showing up to vote that was not who they say they were.”65

        In short, as highlighted in my initial report and as repeatedly confirmed, there is no

evidence of impersonation fraud.66 In my original report, I explained that if the Voter ID Law

were a genuine attempt to combat potential voter fraud, it would apply to voting by mail, where

incidents of fraud actually have occurred. But as Professor Martin reports—based on readily

available public data—whites were approximately twice as likely as blacks to vote by mail in

2004 and 2008.67 That the legislature chose not to impose a photo ID requirement on the method

of voting that poses a greater risk of fraud but that is disproportionately utilized by white voters

is further evidence of the Law’s discriminatory purpose.




63
   Id. at SC_00160867-68.
64
   SC_00161357-58 (South Carolina Senate Session, Jan. 27, 2010).
65
   SC_00161302 (South Carolina Senate Session, Jan. 27, 2010).
66
   For new deposition testimony on this topic, see Campsen 6/18/12 Tr. at 65-66 (not aware of any
credible allegations of voter impersonation in South Carolina); Debney 7/16/12 Tr. at 46 (never
encountered instance of voter impersonation, including in years as Director of Charleston County Election
Commission); Calkins 7/16/12 Tr. at 42-43 (never encountered instance of voter impersonation during
many years as poll worker, nor has she heard of voter impersonation occurring anywhere else in South
Carolina).
67
   Expert Report of Andrew D. Martin, Ph.D at 9 (June 19, 2012).

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III.    CORRECTIONS TO MY INITIAL REPORT

        Below, I correct two minor mistakes from my initial report, and offer one clarification.

None of these issues undercut or otherwise affect my ultimate conclusions.

        A.      Correction to Page 24

        On page 24 of my initial report, I mistakenly identified Senator Knotts as the Chair of the

Senate Rules Committee. In fact, Knotts did not become Chair of the Senate Rules Committee

until this year.68 On June 15, 2010, Senator Larry Martin was the Committee Chair.69

        B.      Clarification to Pages 23 and 35

        As I note in my initial report, the Legislative Black Caucus staged a walk-out during

consideration of H. 3418, because the Republicans would not allow serious discussion of

Democrats’ proposed amendments. I wanted to clarify what occurred in response to the walk-

out. The House voted to quickly advance the Bill to a final vote, foreclosing any further

amendments. Representative G. Murrell Smith, a white Republican from Sumter and a co-

sponsor of H. 3418, then made a motion to reconsider that vote (a “clinching” motion).70 This

motion precluded the bill’s opponents from later making a clinching motion themselves, and

ultimately prevented the debate that such a motion would have entailed, had it been allowed

before the full General Assembly. That this motion was made immediately after the walk-out of

the Legislative Black Caucus—which was itself in protest of limited debate on amendments to

the bill—showed a lack of respect for the minority position that was, in itself, unusual.




68
   Knotts 7/19/12 Tr. at 9:11 – 12.
69
   Martin 6/13/12 Tr. at 21:10 – 14.
70
   See Legislative History for H. 3418, 118th Reg. Sess. (S.C. 2009-2010), available at
http://www.scstatehouse.gov/sess118_2009-2010/hj09/20090226.htm.

                                                    16
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       C.      Correction to Page 35

       On page 35 of my initial report, I stated that there have been five instances of a Special

Order motion achieved by a majority vote in the last decade. This statement was inaccurate:

Subsequent research shows that this procedural tactic was used three additional times after it was

last used to advance voter ID legislation; thus it has been used seven times in the last decade,

including the two times a majority-vote Special Order motion was used to advance voter ID

legislation.71 Notably, before this procedure was used to advance the 2009 Voter ID Bill and

then to advance the 2011 Voter ID Law, the tactic had only been used twice — once on April 17,

2008 concerning a bill to increase the cigarette tax, H. 3567, and once on February 3, 2005

concerning a medical malpractice bill, S. 83.




71
  Special Order motion through a majority vote have been achieved on the following dates (please note
the correction to the dates of Special Order motions on the Voter ID Bill and Voter ID Law that were
mistakenly reported as 2008 and 2010 on p. 35 of my initial report):
     May 12, 2011 on S. 1437 (concerning roll call voting)
     March 15, 2011 on H. 3375 (concerning tort reform)
     March 1, 2011 on S. 20 (concerning immigration)
     Feb. 10, 2011 on H. 3003 (the Voter ID Law)
     Jan. 26, 2010 on H. 3418 (the Voter ID Bill)
     April 17, 2008 on H. 3567 (concerning increasing cigarette taxes)
     Feb. 3, 2005 on S. 83 (concerning medical malpractice)

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